Case 2:05-Cr-20277-BBD Document 6 Filed 07/21/05 Page 1 of 2 PagelD 11

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)
Plaintiff, )
) Cr. No. l z CKY
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oEsHoNE L. sKlNNER, ) 02 7 7 D A"
MchAEL woRTHAM, )
and )
GENo BoNDs, )
)
Defendants. )

 

 

Upon motion of the United States, the indictment and arrest warrant against the
above-named Defendants are hereby ordered sealed, until the initial appearance of the

defendants, in the instant case.

lT is 30 oRpERED this ¢£r’!"day ofJuly, 2005.

'.”/71`

U.S. N|AG|STRATE JUDGE

 

Thie document entered on the docket Sheet in compliance é
with little ;"" an i,’or 32(b) FRCrP on __ 3'¢3,5§“|2 §§

  
 

 

UNITED SASTE DISTRIC CROU - WERSTE DISTRICT OF TENNESSEE

    

Notice of Distribution

This notice confirms a copy of the document docketed as number 6 in
case 2:05-CR-20277 Was distributed by faX, mail, or direct printing on
August 23, 2005 to the parties listed.

 

 

Joseph C Murphy

U.S. ATTORNEY'S OFFICE
167 N. Main St.

Ste. 800

Memphis7 TN 38103

Honorable Bernice Donald
US DISTRICT COURT

